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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS
                                 WESTERN DIVISION

______________________________________
                                      ]
In re:                                ]
       Richard M. Shove               ]
       & Kathleen E. Shove,           ]                      Chapter 7
                   Debtors            ]                      Case No. 17-31052
                                      ]
______________________________________]


                            DEBTOR’S MOTION TO COMPEL TRUSTEE’S
                            ABANDONMENT OF ESTATE PROPERTY AND
                              CONCLUDE MEETING OF CREDITORS

NOW COMES the Debtors, Richard M. Shove and Kathleen E. Shove, and respectfully moves
this Honorable Court to compel the Chapter 7 Trustee to abandon estate property and conclude
the §341 Meeting of Creditors. In support of their motion, Debtors, state the following:

1.     Debtor(s), Richard M. Shove and Kathleen E. Shove, commenced this case on December
       15, 2017 by filing a voluntary petition for relief under Chapter 7 of Title 11 of the United
       States Bankruptcy Code.

2.     On December 18, 2017, Jack E. Houghton, Jr. was appointed as Chapter 7 Trustee of the
       Debtor’s Bankruptcy Estate (the “Trustee”).

3.     Pursuant to 11 U.S.C. §541, the Property became property of the bankruptcy estate.

4.     Listed on Schedule A/B of the Debtor’s bankruptcy schedules are fully exempt or
       encumbered real and personal property. Real Property includes:
       a. 5 Crystal St., Lenoxdale, MA: Debtors principal residence
       b. 7 Crystal St., Lenoxdale, MA
       c. 8 Crystal St. Lenoxdale, MA Motion for Relief was Granted (See Docket # 123).
       d. 10 Crystal St., Lenoxdale, MA
       e. 12 Crystal St., Lenoxdale, MA - Motion for Relief was Granted (See Docket # 37).
       f. 30 Chestnut St., Lee, MA.
       g. 32-36 Adams St., Pittsfield, MA
       h. 51-53 Orchard St., Pittsfield, MA - Motion for Relief was Granted (See Docket # 41); and
           Trustee abandoned interest in property.
       i. 524 Walker St., Lenoxdale, MA - This property is currently in receivership. Motion for
           Relief was Granted (See Docket # 68); and Trustee abandoned interest in property.

       See Exhibit A for schedules.
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5.    At the Hearing on April 5, 2018 on Debtor’s Motion for Cash Collateral, The Court directed
      the Trustee to either abandon the property or administer the assets. Since that time the
      Trustee has not filed to abandon or to administer any assets.

6.    The Trustee has not objected to the Debtor’s claim of exemption in any property.

7.    The real estate is fully encumbered by mortgages and judgment liens. Excluding the Debtors
      residence, of the eight properties 4 of the secured creditors have sought relief. And the
      remaining properties are not likely calculated to provide any additional value to the Estate.

8.    For the reasons stated the Property is burdensome and/or of inconsequential value to the
      bankruptcy estate.

9.    Trustee has scheduled the §341 Meeting of Creditors on:
              January 29, 2018 - Debtors were required to appear
              March 26, 2018 - Debtors were Not required to appear and no communication for
                                 information or documents were requested.
              April 30, 2018 - Debtors were Not required to appear and no communication for
                               information or documents were requested.
              May 21, 2018 - Debtors were required to appear
              June 25, 2018 - Debtors were Not required to appear and no communication for
                              information or documents were requested.
              July 23, 2018 - Debtors are Not required to appear and no communication for
                              information or documents were requested.

10.   Currently, the Trustee has continued the §341 Meeting of Creditors from July 23rd which
      Debtors were not required to appear until August 27, 2018.

11.   Debtors have provided to the Trustee all information requested in a timely manner and have
      participated in two § 341 Meeting of Creditors for over 2 hours each. Trustee requested
      documents supplied in connection with the original January Creditor meeting and the May
      creditor meeting. All information was supplied timely. The Trustee has not requested any
      additional new information.

12.   Debtors assert that they are entitled to the fresh-start that bankruptcy provides. They have
      sought such fresh-start and have complied with all bankruptcy rules willingly, honestly, and
      on time. Debtors have attended the §341 meetings; have spent a considerable amount of
      time with the Trustee evaluating the properties that will be surrendered; have assisted
      with with the efficient administration of their case; have provided all documents requested
      by the Trustee; and have had their unprepared and unfiled tax returns submitted in accordance
      with 11 U.S.C. §1308.

13.   Debtors are requesting this Court to provide them relief from both the emotional distress and
      financial hardship that a Chapter 7 affords, respectfully asserts that conclusion of the 341
      meetings and an order of abandonment is appropriate.
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WHEREFORE, Debtor(s) pray for an Order pursuant to section 554(b) of the Bankruptcy Code,
that this Court enter an Order providing that the Trustee shall abandon said property, and that the
Trustee conclude the §341 Meeting of Creditors and for such additional or alternative relief as
may be just and proper.


July 20, 2018                                        Respectfully submitted,
                                                     Carrie A. Naatz
                                                     /s/ Carrie A. Naatz
                                                     BBO 651728
                                                     1111 Elm St., Suite 28
                                                     West Springfield, MA 01089
                                                     (413) 336-8300
                                                     (413) 424-3292 (facsimile)
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                                 CERTIFICATE OF SERVICE

        I, Carrie Naatz, Esquire, do hereby certify on the 20th day of July 2018 I served the
Debtor’s Motion to Compel Trustee’s Abandonment of Estate Property and Conclude Meeting of
Creditors which were filed electronically with the United States Bankruptcy Court for the
District of Massachusetts, Western Division on the following CM/ECF participants:

       Stephanie E. Babin on behalf of Creditor Citibank, N.A., not in its individual capacity,
       but solely as trustee of NRZ Pass-Through Trust VI
       Stephanie E. Babin on behalf of Creditor DiTech Financial LLC
       Joseph Dolben on behalf of Creditor THE BANK OF NEW YORK MELLON f/k/a THE
       BANK OF NEW YORK as Trustee for FIRST HORIZON ALTERNATIVE
       MORTGAGE SECURITIES TRUST 2006-FA1
       Kenneth P. Ferris on behalf of Creditor Jose Hernandez
       Kenneth P. Ferris on behalf of Plaintiff Jose R Hernandez
       Jack E. Houghton
       Jack E. Houghton, Jr. on behalf of Trustee Jack E. Houghton
       Richard King
       Joseph J. Lange on behalf of Creditor Witman Properties, Inc.
       Marcus Pratt on behalf of Creditor Wells Fargo Bank, National Association
       Richard T. Mulligan on behalf of Creditor U.S. Bank National Association, As Trustee
       For Master Alternative Loan Trust 2005-1 Mortgage Pass-through Certificates, Series
       2005-1
I further certify that I have this date served a copy of same by first-class mail, postage prepaid,
on the following non-CM/ECF participant(s):
       Richard M. Shove
       Kathleen E. Shove
       PO Box 392
       Lenox, MA 01240

       Dated: July 20, 2018                          /s/ Carrie Naatz_____________
                                                     Carrie Naatz, BBO # 651728
                                                     1111 Elm Street, #28
                                                     West Springfield, MA 01089
                                                     (413) 336-8300 Tel
                                                     (413) 424-3292 Fax
                                                     Office@NaatzLaw.com
